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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                             )
BOSE CORPORATION                             )
                                             )
       Plaintiff,                            )   Case No. 11-cv-10629-DJC
                                             )
v.                                           )
                                             )
SALMAN EJAZ                                  )
                                             )
       Defendant.                            )
                                             )

                    PLAINTIFF'S MOTION FOR ISSUANCE OF EXECUTION

       Now comes Plaintiff Bose Corporation ("Bose") and hereby requests that this Court

issue an Execution on the Judgment entered against Defendant on October 24, 2012. See

Exhibit A, Writ of Execution. As it has been over fourteen (14) days since the issuance of the

Judgment, immediate issuance of the Execution is proper. See Exhibit B, Judgment.

       WHEREFORE, Bose prays that the Court issue an execution in its favor and that the

Court grant such other and further relief as is just.

                                                        Respectfully submitted,

                                                        Plaintiff,
                                                        BOSE CORPORATION,
                                                        by its attorney,

                                                        /s/ Morgan T. Nickerson
                                                        Morgan T. Nickerson (BBO # 667290)
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Dated: January 31, 2013
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                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that a copy of the foregoing document has
been served electronically upon all counsel of record registered with the Court for electronic
service, and by mail upon all counsel and parties not so registered.


                                                  /s/ Morgan T. Nickerson

Dated: January 31, 2013
